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     BOSTON                                          www.duanemorris.com                                         MYANMAR
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      AUSTIN                                                                                              A GCC REPRESENTATIVE OFFICE
                                                                                                               OF DUANE MORRIS
      HANOI
  HO CHI MINH CITY
                                                                                                           ALLIANCES IN MEXICO
                                                                                                             AND SRI LANKA




 January 20, 2021


 VIA ECF
 The Honorable Karen M. Williams
 United States Magistrate Judge
 United States District Court - District of New Jersey
 Mitchell H. Cohen U.S. Courthouse
 4th & Cooper Streets, Room 2060
 Camden, NJ 08101

 The Honorable Thomas I. Vanaskie (Ret.)
 Special Master for Discovery
 Stevens & Lee
 1818 Market Street, 29th Floor
 Philadelphia, PA 19103
          Re:        In re Valsartan/Irbesartan/Losartan MDL
 Dear Judge Williams and Judge Vanaskie:
        Pursuant to the Court’s order dated January 11, 2021 (ECF No. 727), this
 supplemental letter brief is to provide the Manufacturer Defendants’ positions with
 respect to whether they may be ordered to accept service of document subpoenas
 that Plaintiffs have not even attempted to serve on the foreign third parties to which
 they are directed, and to obtain documents and ESI from those third parties that may
 be responsive to the unserved subpoenas based on Plaintiffs’ unfounded assertion
 that the Manufacturer Defendants are in possession, custody, or control of any such
 information that might be in the third parties’ possession.
 DUANE MORRIS LLP
 30 SOUTH 17TH S TREET   P HILADELPHIA, P A 19103-4196                             P HONE: +1 215 979 1000 FAX: +1 215 979 1020
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 I.    INTRODUCTION
         Having not taken any steps to perfect and serve subpoenas on the foreign third
 parties identified below under the Hague Convention and other international treaties,
 as required under Rule 45, Plaintiffs would have this Court order the Manufacturer
 Defendants to accept service of the unserved subpoenas and to collect and produce
 information in the possession of the foreign third parties that may be responsive to
 the unserved subpoenas. However, Plaintiffs have not demonstrated that the
 Manufacturer Defendants have “possession, custody, or control” over the
 information in any of the third parties’ possession such that a Manufacturer
 Defendant could compel the third party to provide that information to the
 Manufacturer Defendant to be produced in this litigation. Accordingly, the Court
 should deny Plaintiffs’ request for the Court to order the Manufacturer Defendants
 to respond to accept service of and then respond to the unserved subpoenas on behalf
 of, or in place of, the third parties.

 II.   FACTUAL AND PROCEDURAL BACKGROUND
       In October of 2020, Plaintiffs     originally attempted to serve document
 subpoenas on 75 different third-parties purportedly related to one or more of the
 Manufacturer Defendants. See Ex. A, ECF No. 652-10, 10/15/20 and 10/16/20
 Emails from B. Stellpflug. Each of the subpoenas was virtually identical, seeking
 approximately 11 different categories of information through between 45 and 55
 document requests, notwithstanding the very different businesses represented by
 each of the third parties. For example, a lawyer at Duane Morris LLP was served
 with a subpoena that was virtually identical to a subpoena served on a Chinese
 manufacturer of raw material starting ingredient. Compare Ex. B, Subpoena issued
 to F. Ball of Duane Morris, with Ex. C, Subpoena issued to Linhai Huanan Chemical
 Co. Ltd.
        Twenty-three of the subpoenas sought documents from foreign third parties.
 To the best of the Manufacturer Defendants’ knowledge, Plaintiffs have not effected
 foreign service on any of these subpoenas, nor have they even attempted to satisfy
 the requirements for foreign service, such as through the Hague Convention. Thus,
 none of the foreign third parties have provided documents in response to any of the
 subpoenas and the question whether the Manufacturer Defendants should be directed
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 to collect and produce responsive documents that are in the possession of each of the
 23 third parties is at issue.
        After several meet and confer sessions, Plaintiffs refused to withdraw any of
 the subpoenas prior to the Case Management Conference on Wednesday, November
 11, 2020, and agreed to narrow just two subpoenas. See ECF No. 652-3, 12/4/20
 Def. Brief in Support of Mtn. to Quash, at 7. Accordingly, Defendants were forced
 to raise their objections to the subpoenas in their letter brief dated November 9, 2020,
 which included, inter alia, improper notice, the overbreadth and irrelevancy of the
 requests, and defiance of the Macro Discovery and Confidentiality Orders directives.
 See Ex. D, ECF No. 620, 11/9/20 Def. Ltr Brief at 16. At the November 11 Case
 Management Conference, Magistrate Judge Schneider ordered a briefing schedule
 wherein the Manufacturer Defendants were to file an omnibus motion that addressed
 issues and disputes common to all of the Manufacturer Defendants as well as any
 separate motions addressing defendant-specific issues by December 4, 2020. See
 ECF No. 629 at ¶ 4.
        On December 4, 2020, the Manufacturer Defendants submitted their Motion
 to Quash and for a Protective Order Regarding Plaintiffs’ subpoenas directed to third
 parties (Defendants’ “Motion to Quash”). See ECF No. 652 and supporting
 documents. On December 31, 2020, Plaintiffs submitted their Opposition to
 Defendants’ Motion to Quash (Plaintiffs’ “Opposition”). See ECF No. 705. On
 January 4, 2021, the Manufacturer Defendants submitted their Reply Brief in further
 support of their Motion to Quash (Defendants’ “Reply”). See ECF No. 710. On
 January 5, 2021, Judge Schneider heard oral argument from the parties on the issue
 of the Plaintiffs’ subpoenas directed to third parties. During oral argument, the Court
 stated that it was deferring its decision regarding service and responses to the foreign
 subpoenas. Hr. Tr. 1/5/21 at 41:21-42:12. On January 11, 2021, the Court entered an
 Order stating:
              By January 20, 2021, defendants are granted leave to serve
              a supplemental letter brief regarding whether they are in
              possession, custody, or control of the disputed foreign
              entities’ documents/ESI. Plaintiffs may respond by
              February 1, 2021. Defendants may reply by February 5,
              2021.
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 ECF No. 727, ¶ 6.

 III.   ARGUMENT
       The foreign third parties are not subject to the Court’s personal jurisdiction
 and are outside the limits of the Court’s subpoena power. Accordingly, Plaintiffs
 should serve the foreign third parties pursuant to the pertinent international treaty,
 as required by Rule 45. Plaintiffs cannot evade proper foreign service by claiming
 that Defendants should be required to respond to the subpoenas directed at the
 foreign third parties because Plaintiffs have not and cannot establish that Defendants
 have possession, custody or control over the foreign third parties’ documents.
        A.    Plaintiffs Must Serve the Foreign Third Parties Via the Hague
              Convention Procedures
        Rule 45 requires the Hague Convention procedures to be followed when a
 party attempts to obtain discovery from a non-party foreign national and/or
 corporation. See Fed. R. Civ. P. 45; Abbott Labs v. Impax Labs., 2004 U.S. Dist.
 LEXIS 13487, *6-7 (“As a threshold matter, I agree with the parties that application
 to the Hague Convention is appropriate here, as the witnesses are non parties to the
 lawsuit, have not voluntarily subjected themselves to the discovery, are citizens of
 France, and are not otherwise subject to the jurisdiction of this court.”); AstraZeneca
 v. RanBaxy Pharms., Inc. 2008 U.S. Dist. LEXIS 6337, 2008 WL 314627 (requiring
 parties to follow the Hague Convention procedures when attempting to solicit non-
 party, foreign national for a deposition).
        Here, the foreign third parties are: (1) not parties to the lawsuit; (2) have not
 voluntarily subjected themselves to the discovery process; (3) are foreign
 corporations; and (4) are not otherwise subject to the jurisdiction of the Court. Thus,
 Plaintiffs should be required to employ the procedures set forth in the Hague
 Convention for service of their third party subpoenas.
        In an effort to circumvent service via the Hague Convention, Plaintiffs, in
 their Opposition, cite to the decision rendered in Société Nationale Industrielle
 Aérospatiale v. United States District Court, 482 U.S. 522, 539–40, 107 S.Ct. 2542,
 2553, 96 L.Ed.2d 461 (1987). See ECF No. 705, at 6. That decision is inapposite.
 Plaintiffs failed to highlight the fact that the foreign entity in that case was actually
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 a party to the litigation, and thus, was subject to the District Court’s Personal
 Jurisdiction. See Id. at 5-6. Rather, the Supreme Court noted “[t]he question
 presented in this case concerns the extent to which a federal district court must
 employ the procedures set forth in the Convention when a party seek answers to
 interrogatories, the production of documents, and admissions from a French
 adversary over whom the court has personal jurisdiction.” Société Nationale, 482
 U.S. at 524 (emphasis added). In this case, none of the foreign third parties from
 whom Plaintiffs are seeking documents are parties to this action, nor are they subject
 to the Court’s personal jurisdiction. Accordingly, Rule 45 dictates that the Hague
 Convention procedures must be followed for service of the subpoenas.
       B.     Plaintiffs Have Not Established that Defendants Have Possession,
              Custody or Control Over the Foreign Third Parties’ Documents
        Plaintiffs attempt to avoid the procedures for proper foreign service
 established by Rule 45 by asserting that Defendants should be required to respond
 to the subpoenas on behalf of the foreign third parties. However, try as they might,
 Plaintiffs cannot avoid attempting service pursuant to the Hague procedures because
 Plaintiffs cannot establish that Defendants have possession, custody or control over
 the foreign third parties’ documents.
        A party is not obligated to produce documents that it does not possess or
 cannot obtain. Princeton Digital Image Corp. v. Konami Digital Entertainment Inc.,
 316 F.R.D. 89 (D. Del. 2016); see also Eisenband v. Pine Belt Auto., Inc., 2020 WL
 1486045, at *8 (D.N.J. Mar. 27, 2020) (awarding Defendant summary judgment
 because Plaintiffs could not show that Defendant had control over third party’s
 documents). The party seeking production of documents bears the burden of
 establishing the opposing party’s control over those documents. Camden Iron and
 Metal, Inc. v. Marubeni Am. Corp., 138 F.R.D. 438, 441 (D.N.J. 1991). A party has
 control over a non-party’s documents if the party has the legal right or ability to
 obtain the documents from another source upon demand. See Haskins v. First Am.
 Title Ins. Co., No. CIV. 10-5044 RMB/JS, 2012 WL 5183908, at *1 (D.N.J. Oct. 18,
 2012) (citing Mercy Catholic Med. Ctr. v. Thompson, 380 F.3d 142, 160 (3d
 Cir.2004)). In order to show that a party has a contractual right to obtain documents,
 the requesting party must point to language of the governing contract between the
 party and the third party. See e.g. Id.; Eisenband, 2020 WL 1486045, at *8.
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        Although distinguishable from the facts here for reasons not germane,
 Haskins, a case relied on heavily by Plaintiffs, illustrates of the types of agreements
 and language that this Court has found to be sufficient in establishing a party’s
 possession, custody and control over a third party’s documents. The court in Haskins
 ruled that defendant insurance company had possession, custody and control over its
 own agents’ closing files and therefore could be compelled to produce the documents
 in response to Rule 34 discovery requests (not subpoenas to non-parties) because
 of specific language in the defendant’s governing contracts with each of its agents.
 Id. at *4 (“[defendant] also argues it should not be compelled to produce the
 requested closing files because it cannot “force” its agents to comply …[t]his
 argument is rejected for the reason that [defendant] may claim that the agent
 breached its contract if the agent does not produce the requested file”). Specifically,
 the contracts at issue contained the following clauses that conferred a legal right to
 the defendant insurance company to take control over its agents’ closing files:

              Equititle's contract requires it to “cooperate and assist in
              the defense of any litigation ... if requested and approved
              [by defendant] ...”
              … and Finiti's contract requires it to “[c]omply with all
              instructions ... requirements, directives ... in addition to
              legal and industry practices.” (citations omitted) …
              … Further, the TransContinental contract provides that
              TransContinental shall forward all relevant information to
              [defendant] when it learns of a legal claim and that the
              “[Agent] agrees to cooperate with [defendant] in a timely
              manner in the handling of any claim.” (citations
              omitted)… [t]hese provisions further demonstrate
              [defendant’s] control of the requested closing files.
              Id. at n. 4.

      As set forth below, unlike the insurer in Haskins, Plaintiffs have failed to point
 to operative governing agreements or specific language to establish that any
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 Defendant has been conferred the right by any of the foreign third parties to obtain
 information that is in their position.
       C.     ZHP Cannot Be Forced to Respond On Behalf of the Foreign Third
              Parties Identified by Plaintiffs
        Plaintiffs originally proposed serving subpoenas on 22 third parties
 purportedly related to ZHP. After the meet and confer process and the subsequent
 briefing schedule and oral argument, four foreign third parties purportedly related to
 ZHP remain at issue: Azbil Telstar Technologies (“Azbil”); Chemo Group India;
 VXL Life Sciences (“VXL”), and Linhai Huanan Chemical Co. Ltd. (“Linhai”). 1
 See ECF No. 705, at 11-12. However, ZHP does not have possession, custody or
 control over documents belonging to Azbil, Chemo Group India, VXL or Linhai,
 and Plaintiffs have failed to satisfy their burden to provide sufficient evidence to
 show otherwise. Plaintiffs have not pointed to a single governing or controlling
 agreement between ZHP and any of these foreign third parties that even suggests,



 1
     Plaintiffs also identified Prinbury BioPharm for subpoena, a wholly-owned
 subsidiary of ZHP. However, ZHP has already produced 148,198 pages of
 documents from foreign, non-party Prinbury BioPharm (“Prinbury”), who is outside
 this Court’s jurisdiction, in response to Plaintiffs’ extensive Rule 34 Requests for
 Production Directed to the Manufacturing Defendants. See ECF No. 328. Any
 relevant discovery pursuant to the Subpoena directed to Prinbury would be
 duplicative and cumulative of the extensive discovery already produced from
 Prinbury’s records. Further, the decision to direct a subpoena to Prinbury highlights
 Plaintiffs’ intent for the Subpoenas – to obtain evidence outside the scope of the
 Court’s orders limiting the scope of discovery in this matter. See ECF No. 303. To
 the extent Prinbury possesses materials responsive to the Subpoena that have not
 already been produced in response to the Rule 34 Requests, which were heavily-
 litigated and limited in scope by the Court’s Macro Discovery Order (ECF No. 303),
 those materials are outside the scope of discovery ordered by the Court. See Cooper
 Health, 2009 WL 10727982, at *2 (D.N.J. July 1, 2009) (quashing subpoenas
 beyond scope of prior order limiting discovery).
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 let alone proves, that any of these foreign third parties has conferred upon ZHP the
 authority to accept service or respond to a subpoena on its behalf.
       As set forth below, the Court should deny Plaintiffs’ request that ZHP should
 be ordered to collect and produce information that may be responsive to the
 subpoenas related to Azbil, Chemo Group India, VXL or Linhai, if any, that are in
 the possession of these foreign third parties.
              1.     ZHP Cannot Accept Service on Behalf of Azbil, Chemo
                     Group India, VXL, or Linhai
         As an initial matter, the Court cannot compel Defendants to accept service of
 a subpoena served on a third party. Any such acceptance must be authorized by the
 third party. See Laffey v. Plousis, 2008 WL 305289, at *5 (D.N.J. Feb. 1, 2008),
 aff'd, 364 F. App’x 791 (3d Cir. 2010) (holding service improper even though fellow
 employee at defendant's office said he was authorized to accept service, since
 apparent authority to accept service must be created by acts of the principal – not the
 agent); FED. R. CIV. P. 45(b)(1). Neither Azbil, Chemo, VXL, nor Linhai have
 authorized ZHP to accept service of the subpoena directed to them on their behalf.
 Therefore, ZHP cannot be forced to accept service of these foreign subpoenas
 because ZHP has not been authorized to accept service by the third party to whom
 the subpoena is directed.
              2.     ZHP Does Not Have Possession, Custody or Control Over the
                     Foreign Third Parties’ Documents
        In addition, Plaintiffs cannot circumvent the requirements for foreign service
 on Azbil, Chemo, VXL, or Linhai, by claiming that ZHP has possession, custody or
 control over responsive documents in their possession. As described above, the case
 law is clear that, in order to establish that ZHP has possession, custody and control
 over the aforementioned third parties’ documents, Plaintiffs bear the burden of citing
 to specific language in a governing agreement that confers upon ZHP the legal right
 to obtain the third parties’ documents. See, e.g. Haskins, 2012 WL 5183908, at *1.
 However, Plaintiffs have not pointed to a single governing contract, let alone specific
 applicable language therein, between ZHP and any foreign third party that would
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 confer upon ZHP the legal right to obtain documents from the third party. 2 From
 May 28, 2019 to December 31, 2020, ZHP made 96 document productions totaling
 over 300,000 documents and three million pages, and Plaintiffs have only found a
 few that even mention Azbil, Chemo Group India, VXL, or Linhai. See Exhibit E,
 Production Letter from ZHP, Dec. 31, 2020. None of the documents that Plaintiffs
 have presented comprise an agreement, nor even suggest, that ZHP may physically
 invade the files of the Azbil, Chemo Group India, VXL or Linhai to collect and
 produce documents in this case.
                     a.     Azbil
        Azbil is an audit service provider that performs and/or has performed in the
 past, audits of ZHP’s facilities at the request of ZHP’s customers. ZHP does not
 conduct business directly with Azbil and did not hire Azbil, therefore ZHP does not
 have any operating or governing agreement with Azbil. The closest thing to a
 “governing agreement” that ZHP would have with Azbil, is a Letter of
 Authorization, which authorizes Azbil to share the results of certain audits that it has
 performed with ZHP’s customers in order to comply with European Medicines
 Requirements. An example of such Letter of Authorization is attached as Exhibit F.
 ZHP has not entered into any agreement or understanding, including the
 aforementioned Letter of Authorization, in which Azbil has conferred upon ZHP the
 authority to possess or control Azbil’s documents for purposes of complying with
 and/or responding to a subpoena served upon Azbil. Furthermore, Azbil has not
 authorized ZHP to accept service of any subpoena(s) on behalf of Azbil.

        ZHP cannot be said to have a legal right to obtain Azbil’s documents in order
 to respond to a subpoena that was directed to Azbil, a fact that is made even more

 2
   In Footnote 6 of their Opposition, Plaintiffs cite and reference as exhibits four
 specific technical quality agreements between third parties and Defendants Torrent,
 Mylan, and Aurobindo, respectively. ECF No. 705 at n.6. Notably, Plaintiffs failed
 to cite or provide any such technical quality agreement between ZHP and any of the
 third parties allegedly connected to ZHP. Therefore, Plaintiffs have failed to make a
 prima facie showing that ZHP has possession, custody or control over any foreign
 third parties’ documents based upon specific language in a governing agreement.
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  obvious by Plaintiffs’ representation that Azbil has already responded to Plaintiffs’
  subpoena and has been meeting and conferring with Plaintiffs. 3 See Ex. G, ECF No.
  652-11, 12/3/20 Email from B. Stellpflug. Thus, ZHP does not have possession,
  custody or control of Azbil’s documents and cannot be compelled to respond to the
  subpoena directed to Azbil.
                     b.     VXL
        VXL is an Indian company that purchased valsartan API from ZHP. In other
  words, VXL is a customer of ZHP. An example of a commercial invoice illustrating
  the commercial relationship between VXL and ZHP is attached as Exhibit H. ZHP
  has not entered into any governing agreement or understanding, including any
  purchase orders, change requests, emails or letters, in which VXL has conferred
  upon ZHP the authority to possess or control VXL’s documents for purposes of
  complying with and/or responding to a subpoena served upon VXL. Furthermore,
  VXL has not authorized ZHP to accept service of any subpoena(s) on behalf of VXL.
  Thus, ZHP does not have any legal right to obtain VXL’s documents and does not
  have possession, custody or control over VXL’s documents such that it should be
  ordered to respond to a subpoena directed to VXL.
                     c.     Chemo Group India
         Chemo Group, now known as Insud Pharma, is a Spanish company that
  purchased several types of API from ZHP. ZHP did not do business directly with
  Chemo Group India, but rather sold various types of API to Chemo Group,
  presumably the parent company of Chemo Group India. Therefore, the fact the
  Plaintiffs insist on having ZHP respond to a subpoena on behalf of Chemo Group
  India is perplexing. Nevertheless, ZHP has not entered into any governing agreement
  or understanding, including any purchase orders, change requests, emails or letters,
  3
    In the course of meet of confer sessions, Plaintiffs have indicated that, while an
  entity affiliated with Azbil has responded in some fashion to the subpoena directed
  to Azbil, Azbil may be challenging that it was properly served by Plaintiffs. Thus,
  because ZHP has not been privy to Plaintiffs’ discussions with Azbil, to the extent
  that Plaintiffs continue to assert that ZHP should accept service and respond on
  behalf of Azbil, ZHP objects for the reasons articulated above.
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  in which Chemo Group India has conferred upon ZHP the authority to possess or
  control Chemo Group India’s documents for purposes of complying with and/or
  responding to a subpoena served upon Chemo Group India. Nor has Chemo Group
  India authorized ZHP to accept service of any subpoena(s) on behalf of Chemo
  Group India. Thus, there is absolutely no evidence that ZHP has a legal right to
  obtain documents from Chemo Group India and therefore ZHP cannot be said to
  have possession, custody or control of Chemo Group’s documents in order to
  respond to a subpoena directed to Chemo Group India.
                      d.     Linhai
         Linhai is a subsidiary of ZHP that supplies raw starting ingredient material to
  ZHP. Linhai is one of approximately 40 subsidiaries owned by ZHP around the
  world, including in the United States, Japan, Germany, Russia, Spain, and India.
  Although Linhai and ZHP share common ownership, Linhai is an entity that is
  separate and distinct from ZHP, and mere common ownership is insufficient to
  establish that ZHP has possession, custody and control over Linhai’s documents.
  See, e.g. Fried v. JP Morgan Chase & Co., 850 F.3d 590, 595 (3d Cir. 2017) (parent
  companies are not, merely by dint of ownership, liable for the acts of their
  subsidiaries); Interfaith Cmty. Org. v. Honeywell Int'l, Inc., 215 F. Supp. 2d 482,
  497 (D.N.J. 2002) (“ it is deeply ingrained in our economic and legal systems that a
  parent corporation ... is not liable for the acts of its subsidiaries”) (internal citations
  omitted).
         Linhai has not authorized ZHP to accept service of any subpoena(s) on behalf
  of Linhai and Plaintiffs have not pointed to a single governing agreement or contract
  that confers upon ZHP the legal right to obtain documents to respond to a subpoena
  on Linhai’s behalf. Therefore, ZHP should not be forced to respond to a subpoena
  that was directed to Linhai, who is not a party to this action.
         Simply put, Plaintiffs have not demonstrated that the purely commercial
  relationships between ZHP and Azbil, Chemo Group, VXL or Linhai have conferred
  upon ZHP any possession, custody, or control over documents belonging to these
  third parties. Thus, ZHP cannot be ordered to respond to any of these foreign third
  party subpoenas.
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        D.     Aurobindo Cannot Be Forced to Respond On Behalf of the
               Foreign Third Parties Identified by Plaintiffs
         As it pertains to Aurobindo, Plaintiffs have issued foreign subpoenas to the
  following entities: (1) Altus Formulation, located in Canada (“Altus”); (2) AXIS
  Clinicals Ltd., located in India (“AXIS”); (3) Cybernetik Technologies P Ltd.,
  located in India (“Cybernetik”); (4) Lantech Pharmaceutical Ltd., located in India
  (“Lantech”); and (5) Vigilate Biopharma Pvt Ltd., located in India (“Vigilate”).
          As an initial matter, for the reasons outlined above, Plaintiffs’ should be
  forced to comply with the foreign service provisions as set forth in Rule 45 and the
  Hague Convention, which apply to all of the subpoenas directed to foreign third
  parties pertaining to Aurobindo.
        In addition, Plaintiffs have failed to establish that Aurobindo has possession,
  custody or control of any of the aforementioned third parties’ documents.
               1.    Aurobindo Does Not Have Possession, Custody or Control
                     of the Third Parties’ Documents Identified by Plaintiffs
         Plaintiffs have issued subpoenas directed to the aforementioned five foreign
  entities purportedly related to Aurobindo. Of these five foreign entities, Plaintiffs
  have attempted to support their “agency” argument only as it pertains to one entity,
  Lantech. See Exhibit D to ECF No. 705. In doing so, Plaintiffs have attempted to
  use a Root Cause Investigation Report to demonstrate that Aurobindo has
  possession, custody, and control over Lantech documents. See ECF No. 705 at 6.
         However, nowhere in this report is there any indication that Aurobindo may
  inspect, copy, take possession of, etc. any of Lantech’s records. Rather, the only
  mention of Aurobindo, as it pertains to inspecting Lantech’s documents, is the
  indication that Aurobindo may review Lantech’s documents as it pertains to
  performing quality assurance checks for a CMU. See Exhibit D to ECF No. 705, at
  20, 27. There is no indication that Aurobindo may take possession of these
  documents, or, as Plaintiffs suggest, can obtain these documents “at will”.
         Furthermore, as it relates to the Lantech documents at issue, any documents
  already in Aurobindo’s possession have already been produced via Plaintiffs’ Rule
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  34 Document Requests. Aurobindo produced voluminous documents in response to
  Plaintiffs’ Requests, and, any documents responsive to any alleged Valsartan
  nitrosamine contamination, including those written by Lantech, were produced to
  Plaintiffs. Thus, any documents in Aurobindo’s possession that relate to Lantech,
  and are relevant to this litigation, have already been produced and producing them
  again would result in duplicative discovery. Similarly, Aurobindo has already
  produced the documents in its possession that are relevant to this litigation from the
  remaining foreign third-parties. Id. Finally, Aurobindo does not have immediate, or,
  “at will” access to the other foreign third-parties’ documents.
        Accordingly, as Aurobindo does not have possession, custody or control of
  any of the foreign third-parties’ documents for which subpoenas are directed.
        E.     Mylan Does Not Have Control Over Documents Maintained By
               Foreign Third Parties Identified by Plaintiffs
         As already noted, in prior briefing, Plaintiffs suggested that Mylan should be
  compelled to produce documents maintained by two unrelated foreign entities,
  Lantech Pharmaceuticals (“Lantech”) and Snehaa Solvents (“Snehaa”), because
  Mylan ostensibly has a contractual right to require these third parties “to make
  records available.” See ECF No. 705, at 7 n.6. Plaintiffs resorted to this argument
  because, as Defendants had pointed out, the third-party subpoenas Plaintiffs
  apparently never attempted to serve plainly violate the limits on the geographic
  scope of Rule 45. See ECF No. 652-3, at 13–16. However, the contracts cited by
  Plaintiffs expired long ago, as did any rights or obligations Mylan may have had
  under those contracts. Plaintiffs’ argument, therefore, fails on its own terms, and
  their attempt to use Rule 34 as an end around Rule 45 must be denied.
         In response to Defendants’ motion to quash, which identified clear-cut
  deficiencies in the geographic scope of Plaintiffs’ third-party subpoenas, Plaintiffs
  shifted gears and posited that, through contractual provisions, Mylan has control
  over documents maintained overseas by Lantech and Snehaa and, on this basis,
  argued that Mylan should somehow be required to produce documents in response
  to unserved Rule 45 subpoenas addressed to (but never actually served upon) those
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  third parties. See ECF No. 652-3, at 13–16; ECF No. 705, 7 n.6. 4 However, as is
  clear on the face of the documents relied upon by Plaintiffs in support of this
  position, the contacts themselves are no longer in effect and, moreover, they have
  not been renewed. See ECF No. 705-3 (Snehaa) and ECF No. 705-4 (Lantech). Also,
  the respective contracts do not contain any survival provisions, and there is no
  indication whatsoever than any of the obligations under the contracts would survive
  expiration. An expired contract by its own terms releases the parties from their
  respective contractual obligations. Litton Fin. Printing Div., a Div. of Litton Bus.
  Sys., Inc. v. N.L.R.B., 501 U.S. 190, 206 (1991). Accordingly, even putting aside the
  fact that the subpoenas are far broader than any contractual provision identified by
  Plaintiffs, Mylan does not have the right or ability to obtain the documents from
  Snehaa and Lantech, and Plaintiffs have failed to meet the requisite burden for
  establishing control.
        F.     Torrent Cannot Be Forced to Respond to the Subpoena Directed
               to Sipra Labs, Ltd.
        Only one third party subpoena, directed towards Sipra Labs, Ltd. (“Sipra”), is
  purportedly related to the Torrent Defendants. Sipra Labs, Ltd. is a foreign third
  party based in India, and is a Contract Research Organization (CRO) that provided
  routine raw material testing for Torrent. Torrent does not have authority to accept
  service on behalf Sipra, nor does Torrent does not have possession, custody, or
  control over Sipra’s documents. Plaintiffs have not pointed to any agreement or
  contract between Torrent and Sipra that confers upon Torrent the legal right to obtain
  documents to respond to a subpoena on Sipra’s behalf.
        Therefore, for the foregoing reasons and those asserted in their opening an
  reply briefs in Support of their Motion to Quash or for a Protective Order, Torrent
  respectfully request the Court grant said motion as it applies to Sipra Labs., Ltd.



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   Plaintiffs do not point to any other agreements that supposedly might have allowed
  Mylan to exercise control over documents maintained by any of the other third
  parties Plaintiffs sought to subpoena.
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  IV.   CONCLUSION
        Therefore, for the foregoing reasons and those asserted in their opening and
  reply briefs in Support of their Motion to Quash or for a Protective Order,
  Defendants respectfully request the Court grant said motion as it applies to the
  foreign third parties.


                                               Respectfully submitted,


                                               s/ Seth A. Goldberg
                                               Seth A. Goldberg


  cc: All counsel of record via ECF
